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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 AIM LEASING COMPANY, et al.,                 )       CASE NO.: 4:14-CV-02161
                                              )
         Plaintiffs,                          )       JUDGE: BENITA Y. PEARSON
                                              )       MAGISTRATE GEORGE J. LIMBERT
 vs.                                          )
                                              )       HARBOR AMERICA SPECIALTY
 RLI CORP., et al.,                           )       BROKERAGE, LLC'S INITIAL
                                              )       DISCLOSURES
         Defendants.                          )

         Pursuant to Rule 26(A)(1) of the Federal Rules of Civil Procedure, Defendant Harbor

 America Specialty Brokerage, LLC makes the following Initial Disclosures based upon

 information currently known.

        I.      INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION:

        1.      Employees/Representatives of Plaintiffs Aim Leasing Company, Aim Leasing

Drivers Company, and Aim Integrated Logistics, Inc.;

      2.      Employees/Representatives of RLI Corp., RLI Insurance Company, and RLI
Transportation;

        3.      Employees/Representatives of Defendant Safe Fleet Insurance Services;

        4.      Defendant David Williams;

        5.      Employees/Representatives of Defendant Harbor American Specialty Brokerage,

LLC, and Harbor America East, Inc.;

        6.      Defendant Rick Walker;

        7.      Employees/Representatives of Main Street America MGA Inc.;


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         8.     Employees/Representatives of ULLICO Casualty Company;

         9.     Employees/Representatives of Third-Party Defendant RJL Insurance Services,
Inc.;

         10     Third-Party Defendant Richard J. Leibfried;

         11.    Any and all persons identified in documents obtained through discovery;

         12.    All persons identified by Plaintiffs;

         13.    All persons identified by Co-defendants and/or Third Party Defendants; and

         14.    Experts engaged by any parties.

          It is anticipated that each of the foregoing individuals will or may have knowledge

 concerning the allegations set forth in the Complaint and/or Answers.

          As discovery is ongoing, Defendant reserves the right to update this disclosure pursuant

 to the Federal Rules of Civil Procedure, and as this Court may order.

         II.    DESCRIPTION OF DOCUMENTS:

         1.     Correspondence between Plaintiffs, Defendants, and Third Party Defendants; and

        2.      Documents in the custody of Defendants/Third Party Defendants relative to
Plaintiffs’ claimed damages;

         III.   COMPUTATION OF DAMAGES:

          This subsection is not applicable as Defendant has not asserted a counter-claim for any

 category of damages against Plaintiffs.

         IV.    INSURANCE AGREEMENT:

         Will provide. Harbor America Specialty Brokerage, LLC is insured under an agents and

brokers errors and omissions policy through Essex Insurance Company. The policy period is

January 16, 2014 to January 16, 2015 with a per claim policy limit of $5,000,000.




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          V.        EXPERTS:

           Pursuant to Rule 26(a)(2)(A), identification of Rule 702/703/705 witnesses is premature

 at this time, and such disclosure will be supplemented in accordance with the Federal Rules of

 Civil Procedure and this Court’s Order.

                                              Respectfully submitted,

                                              MAZANEC, RASKIN & RYDER CO., L.P.A.

                                              s/Joseph F. Nicholas, Jr.
                                              JOSEPH F. NICHOLAS, JR. (0038063)
                                              MICHAEL P. BYRNE (0089603)
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                                              Counsel for Defendant Harbor America Specialty
                                              Brokerage, LLC



                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 8, 2015, a copy of the foregoing Harbor America Specialty

Brokerage, LLC's Initial Disclosures was filed electronically. Notice of this filing will be sent to

all registered parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.

                                              s/Joseph F. Nicholas, Jr.
                                              JOSEPH F. NICHOLAS, JR. (0038063)
                                              MICHAEL P. BYRNE (0089603)

                                              Counsel for Defendant Harbor America Specialty
                                              Brokerage, LLC
MARK-140328/Initial Disclosures




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